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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                   BID PROTEST




AMAZON WEB SERVICES, INC.,
                                                                     19-1796 C
                                                          Case No. ___________________
                Plaintiff,
                                                          Judge     ___________________
     v.

UNITED STATES OF AMERICA,
by and through the U.S. Department of Defense,

                Defendant.



                             CORPORATE DISCLOSURE STATEMENT

          Pursuant to Rule 7.1 of the Rules of the United States Court of Federal Claims, Plaintiff

 Amazon Web Services, Inc. (“AWS”), through its undersigned counsel, states that it is a subsidiary

 of Amazon.com, Inc., a Delaware corporation. No other publicly traded company owns 10 percent

 or more of AWS’s stock.



 Dated:         November 22, 2019              Respectfully submitted,




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